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                  Attorneys for Defendant
               14 Telebrands Corp.
               15
               16
                                             UNITED STATES DISTRICT COURT
               17
                                        CENTRAL DISTRICT OF CALIFORNIA
               18
               19
                  CHRISTOPHER RASH, on behalf of               CASE NO. 5:21-cv-00998-JWH (SPx)
               20 himself and all others similarly situated,
                                                               The Honorable John W. Holcomb
               21               Plaintiff,
                                                               NOTICE OF RESOLUTION OF
               22         v.                                   THE GALLO ACTION AND JOINT
                                                               STATUS REPORT
               23 TELEBRANDS CORPORATION,
               24               Defendant.
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  Mitchell     28
Silberberg &
 Knupp LLP
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                1         On December 13, 2021, this Court stayed the above-entitled action pending
                2 approval of class settlement in a civil action then pending before the Superior
                3 Court of New Jersey denominated as Gallo v. Telebrands Corp., Case No. ESX-L-
                4 007123-21 (“Gallo”), and directed Defendant Telebrands Corp. (“Telebrands”) to
                5 file a Notice of Resolution of the Gallo case within 14 days after the Gallo court
                6 grants or denies the Gallo plaintiffs’ motion for final approval of settlement. ECF
                7 No. 58.
                8         Telebrands hereby notifies the Court that, on March 8, 2022, the Gallo court
                9 issued the Order Granting Plaintiffs’ Motion for Final Approval of Class Action
               10 Settlement, Award of Attorneys’ Fees and Expenses, and Approval of Incentive
               11 Awards; Final Judgment and Order of Dismissal (attached hereto as Exhibit 1).
               12                                      *         *     *
               13         The parties met and conferred about further proceedings in this case, reached
               14 a settlement, and anticipate to be shortly filing a stipulation dismissing this action.
               15
               16 Dated: MARCH 22, 2022                    By:       /s/ Michael F. Ram
                                                                 Michael F. Ram (SBN 104805)
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         Case 5:21-cv-00998-JWH-SP Document 59 Filed 03/22/22 Page 3 of 13 Page ID #:718



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               12                                             Telephone: (202) 789-3960
               13                                             Attorneys for Plaintiff Christopher Rash
               14 Dated: MARCH 22, 2022                  VALENTINE A. SHALAMITSKI
                                                         MITCHELL SILBERBERG & KNUPP LLP
               15
               16                                        By: /s/ Valentine A. Shalamitski
                                                             Valentine A. Shalamitski
               17                                            Attorneys for Defendant Telebrands Corp.
               18
               19                           Attestation Regarding Signatures

               20         Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), I, Valentine A. Shalamitski,

               21 attest that all signatories listed, and on whose behalf the filing is submitted, concur
               22 in the filing’s content and have authorized the filing.
               23
               24   DATED: March 22, 2022                         /s/ Valentine A. Shalamitski
                                                                  Valentine A. Shalamitski
               25
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  Mitchell     28
Silberberg &
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                         EXHIBIT 1




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 Attorney for Plaintiffs

 CHRISTOPHER GALLO, HOWARD TANG,            SUPERIOR COURT OF NEW JERSEY
 and KENNETH PETERSEN, on behalf            LAW DIVISION
 of themselves and all others               ESSEX COUNTY
 similarly situated,
                                            Docket No. ESX-L-007123-21
       Plaintiffs,
                                            CIVIL ACTION
       v.

 TELEBRANDS CORPORATION,

       Defendant.


 [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
 CLASS ACTION SETTLEMENT, AWARD OF ATTORNEYS’ FEES AND EXPENSES, AND
 APPROVAL OF INCENTIVE AWARDS; FINAL JUDGMENT AND ORDER OF DISMISSAL

       WHEREAS,     Plaintiffs      Christopher      Gallo,     Howard    Tang,     and

 Kenneth Petersen (“Plaintiffs”), moved for an Order, pursuant to

 New Jersey Court Rule 4:32-2(e), seeking final approval of a class

 action settlement, and entry of final judgment dismissing the

 Complaint, following the Court’s issuance of an Order, dated

 November 10, 2021, preliminarily approving such settlement and

 directing that notice be provided accordingly (the “Motion”); and

       WHEREAS, Digital Settlement Group effectuated notice to the

 Settlement Class in accordance with the Preliminary Approval; and


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        WHEREAS the Court reviewed the submissions of the Parties and

 proof    of   completion       of   notice,     and   held   a     Fairness   Hearing,

 pursuant to New Jersey Court Rule 4:32-2(e)(1)(C), on February 17,

 2022 (the “Fairness Hearing”); and

        WHEREAS the Court has found that the Parties are entitled to

 the relief they seek;

        IT IS ORDERED that the Motion is GRANTED, subject to the

 following terms and conditions:

        1.       With respect to the Settlement Class defined below,

 the Court finds          and concludes, for settlement purposes only,

 that: (a) the Settlement Class Members are so numerous as to make

 joinder of them impracticable; (b) there are questions of law and

 fact    common     to    the     Settlement      Class,      and    such    questions

 predominate       over     any      questions     affecting        only    individual

 Settlement Class Members; (c) Plaintiffs’ claims and the defenses

 asserted thereto are typical of the claims of Settlement Class

 Members and the defenses asserted thereto; (d) Plaintiffs and

 their counsel have fairly and adequately protected the interests

 of Settlement Class Members throughout this action; (e) common

 questions of law and fact predominate over questions affecting

 only individual Class Members, rendering the Class sufficiently

 cohesive to warrant a nationwide class settlement; and (f) the

 certification of the Class is superior to individual                       litigation


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 and/or     settlement     as    a   method    for   the    fair    and     efficient

 resolution of this matter.

       2.        The   Court     therefore     determines      that    this    action

 satisfies the prerequisites for class certification set forth in

 New Jersey Court Rule 4:32-1(a), and may be maintained as a class

 action under New Jersey Court Rule 4:32-1(b)(3), with Yitzchak

 Kopel      of   Bursor   &     Fisher,   P.A.    representing        the   following

 Settlement Class, which the Court hereby certifies:

       All persons in the United States who purchased one or more

 Hoses during the Class Period. Excluded from the Settlement Class

 are: (i) all Persons who purchased or acquired the Hoses for

 resale; (ii) Defendant and its employees; (iii) any Person who

 properly and timely opts out pursuant to this Agreement; (iv)

 federal, state, and local governments (including all agencies and

 subdivisions thereof, but employees thereof are not excluded); and

 (v) the judges to whom this Action is assigned and any member of

 their immediate family.

       “Hoses” is defined as “all expandable Silver Bullet and Pocket

 Hose Bullet garden hoses.”

       The “Class Period” is defined as “six years prior to the

 filing of the Action through November 10, 2021.”

       The Settlement Class, which will be bound by this Order,

 includes all Settlement Class Members who did not submit a valid

 request for exclusion from the Settlement Class.                  Settlement Class
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 Members who exclude themselves from the Settlement, pursuant to

 the procedures set forth in Section 7 of the Settlement Agreement,

 shall thereafter no longer be Settlement Class Members, shall not

 be bound by the Settlement Agreement, and shall not be eligible to

 make a claim for any benefit under the terms of the Settlement

 Agreement.

       3.       Notice to the Settlement Class has been provided in

 accordance with the Preliminary Approval Order, dated November 10,

 2021. Such Notice has been provided in an adequate and sufficient

 manner,    constitutes       the    best       notice    practicable      under    the

 circumstances, and satisfies the requirements of due process. The

 Notice apprised the members of the Settlement Class of the pendency

 of   the   litigation,     of   all      material     elements   of   the     proposed

 settlement, of the res judicata effect on the members of the

 Settlement Class, and of their opportunity to opt out of the

 settlement, to comment on and object to the settlement, and to

 appear at the Fairness Hearing. Full opportunity has been afforded

 to the members of the Settlement Class to participate in the

 Fairness    Hearing.     Accordingly,          the   Court   determines     that   all

 members of the Settlement Class are bound by this Order and by the

 final judgment to be entered pursuant to this Order.

       4.       The Settlement Agreement dated September 1, 2021 (the

 “Settlement      Agreement”)       was     arrived      at   after    arm’s    length

 negotiations conducted in good faith by counsel for the Parties,
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 and is supported by the majority of the members of the Settlement

 Class.

       5.       Further,     that    in   negotiating,       entering     into,     and

 implementing the Settlement, Plaintiffs and Class Counsel have

 fairly and adequately represented and protected the interests of

 all of the Settlement Class Members.

       6.       Through February 8, 2022, 2 members of the Settlement

 Class, Marian Herriges and Bonnie Helderman, have timely and

 properly opted out of the Settlement.

       7.       The Settlement is fair, reasonable, and adequate in

 light of the substantial relief obtained, the complexity, expense

 and duration of the litigation, and the risks inherent and involved

 in establishing liability and damages, and in maintaining the class

 action as to liability issues through trial and appeal.

       8.       The promises and commitments of the parties under the

 terms of the Settlement Agreement constitute fair value given in

 exchange for the releases of the                Released Claims against the

 Released Parties (both as defined in the Settlement Agreement).

 The following claims are therefore released against Telebrands and

 the other Released Parties:

            Any claim, liability, right, demand, suit, matter,
            obligation,   lien,   damage,   punitive   damage,
            exemplary damage, penalty, loss, cost, expense,
            debt, action, or cause of action, of every kind
            and/or nature whatsoever whether now known or
            unknown, suspected or unsuspected, asserted or

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              unasserted, latent or patent, which any Releasing
              Party now has, or at any time ever had, regardless
              of legal theory or type or amount of relief or
              damages claimed, which: (i) in any way arises out
              of, is based on, or relates in any way to
              representations pertaining to the performance of
              the Hoses in this Action. However, Released Claims
              shall not include claims for personal injury.

         9.       This Order, the Settlement Agreement, the Settlement

  that    it    reflects,      the    certification       of     the   Settlement     Class

  hereunder,      and    any    and    all   acts,      statements,      documents,     or

  proceedings relating to the Settlement are not, and may not be

  construed as, or used as, an admission by or against the above

  Released Parties of (1) any fault, wrongdoing or liability on their

  part, (2) the propriety of class                     certification in any other

  proceeding, or (3) the validity of any released claim or the

  existence or amount of damages.

         10.      The terms of the Settlement Agreement and the Final

  Approval Order are binding on the Plaintiffs and all other Class

  Members, as well as their heirs, executors and administrators,

  successors and assigns.

         11.      The Parties and each Settlement Class Member have

  irrevocably submitted to the jurisdiction of this Court for any

  suit, action, proceeding, or dispute arising out of the Settlement

  Agreement.

         12.      It is in the best interests of the parties and the

  Settlement      Class     Members,     and        consistent    with   principles     of
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  judicial economy, that any dispute between any Settlement Class

  Member (including any dispute as to whether any person is a

  Settlement Class Member) and any of the Released Parties (as

  defined in the Settlement Agreement) which in any way relates to

  the applicability or scope of the Settlement Agreement or this

  Order should be presented exclusively to this Court for resolution

  by this Court.

        13.     The attorneys’ fees requested are fair and reasonable

  under Rule 4:32-2(h).

  IT IS FURTHER ORDERED as follows:

        A.      The Parties’ request for final approval of the Class

  Action Settlement is GRANTED.

        B.      The Settlement Agreement submitted by the parties is

  finally approved as fair, reasonable, adequate, just, and in the

  best interests of the Settlement Class, and the parties are hereby

  directed to consummate the Settlement Agreement in accordance with

  its terms.

        C.      The proposed method for providing relief to Settlement

  Class Members, as set forth in the Settlement Agreement, is finally

  approved as fair, reasonable, adequate, just, and in the best

  interests of the Settlement Class.

        D.      The Court approves a payment of $226,148.64 in fees

  and $620.76 in       expenses to Class         Counsel (as       defined in       the

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  Preliminary Approval Order).

        E.      The incentive awards of $2,500 a p i e c e to the Class

  Representatives      Christopher       Gallo,      Howard    Tang,    and   Kenneth

  Petersen is approved and shall be paid within ten (10) calendar

  days after the Final Settlement Approval Date as defined in the

  Settlement Agreement.

        F.      Digital Settlement Group shall issue payments or a

  letter     explaining    the   rejection      of   their    Claim    Form   to    the

  Settlement Class Members, within 30 calendar days of the close of

  the claims period.

        G.      All claims asserted in this Action are hereby dismissed

  on the merits with prejudice.

        H.      Without affecting the finality of the judgment entered

  pursuant to this Order, this Court retains continuing jurisdiction

  regarding      the      Settlement,      including         the   administration,

  consummation, and enforcement of the Settlement Agreement. In

  addition, without affecting the finality of the judgment entered

  pursuant to this Order, this Court retains jurisdiction over the

  parties and each member of the Settlement Class, who are deemed to

  have submitted irrevocably to the exclusive jurisdiction of this

  Court for any suit, action, proceeding, or dispute arising out of

  or relating to this Order.

        I.      The Court finds that there is no reason for delay and


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  directs the Clerk to enter judgment in accordance with the terms

  of this Order.



  DATE: ______________________                  __________________________
                                                HON. KEITH E. LYNOTT




                                                          Reasons and findings on the record.




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